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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                            CASE NO. 4:13CR00144 BSM

CHESTER GREEN                                                               DEFENDANTS

                         PRELIMINARY ORDER OF FORFEITURE

       On July 25, 2014, defendant Chester Green appeared and pled guilty to count one of the

superseding indictment dated August 7, 2013. Pursuant to 21 U.S.C. §853, Green agreed to

forfeit the following:

       1.     $13,320.00 in United States currency seized from 268 Highway 385 South,

Kensett, Arkansas;

       2.     One black Smith & Wesson, model M&P 15-22, .22 caliber rifle, bearing serial

number DZM4469, along with magazine;

       3.     One DPMS Panther Arms, AR-15 rifle with GLX laser sight, bearing serial

number FH184942, along with magazine;

       4.     One black Saiga 12-gauge shotgun, bearing serial number H11426885, along with

magazine;

       5.     $49,120.00 in United States currency seized from 914 Scott Street, August,

Arkansas;

       6.     One Taurus handgun, model PT145, bearing serial number NCX61570;

       7.     One 2012 Polaris Razor 900XP, bearing VIN number 4XAJT9EA4CB590690;

       8.     One 2012 Kawasaki Ninja ZX14 motorcycle, bearing VIN number
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               JKBZXNE14CA004347;

       9.      $8,767.00 in United States currency seized from 118 Olyvia Circle, Higginson,

               Arkansas;

       10.     One 2008 Cadillac DTS, bearing VIN number 1G6KD57Y08U141082;

       11.     One 2011 GMC Sierra, bearing VIN number 3GTP2WE33BG160855; and

       12.     One 2011 Chevrolet Camar0, bearing VIN number 2G1FK1EJXB9115105

(hereinafter the “subject property”).

       Upon the entry of this order, the United States Attorney General, or his designee, is

authorized to seize the above listed property and to conduct any discovery proper in identifying,

locating, or disposing of the property subject to forfeiture, in accordance with Federal Rule of

Criminal Procedure 32.2(b)(3). Additionally, the United States Attorney General, or his

designee, is further authorized to commence any applicable proceeding to comply with statutes

governing third party rights, including giving notice of this order.

       The United States shall publish notice of the order and its intent to dispose of the property

in such a manner as the United States Attorney General, or his designee, may direct. The United

States may also, to the extent practicable, provide written notice to any person known to have

an alleged interest in the subject property.

       Any person, other than the above named defendant, asserting a legal interest in the subject

property may, within thirty days of the final publication of notice or receipt of notice, whichever

is earlier, petition for a hearing without a jury to adjudicate the validity of his alleged interest in

the subject property, and for an amendment of the order of forfeiture, pursuant to 18 U.S.C. §

2461(c), which incorporates 21 U.S.C. §853(n)(2).
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       Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4)(a), this preliminary order of

forfeiture shall become final as to the defendant at the time of sentencing and shall be made part

of the sentence and included in the judgment. Additionally, if no third party files a timely claim,

this order shall become the final order of forfeiture, pursuant to Federal Rule of Criminal

Procedure 32.2(c)(2) .

       Any petition filed by a third party asserting an interest in the subject property shall be

signed by the petitioner under penalty of perjury and shall set forth the nature and extent of the

petitioner’s right, title, or interest in the subject property, the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the subject property, and any additional

facts supporting the petitioner’s claim and the relief sought.

       After the disposition of any motion filed under Federal Rule of Criminal Procedure

32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in accordance

with the Federal Rules of Civil Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.

       The United States shall have clear title to the subject property following the disposition

of all third-party interests, or, if none, following the expiration of the period provided in 21

U.S.C. § 853(n) for the filing of third-party petitions.

       The undersigned shall retain jurisdiction to enforce this order and to amend it as

necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

       IT IS SO ORDERED this 30th day of July 2014.

                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE
